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 4
     Attorney for Defendant
 5   DAVID REED
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,
                                                         Case No. 2:13-CR-00144
11                  Plaintiff,

12   v.                                                  ORDER RE
                                                         WAIVER OF DEFENDANT’S PRESENCE
13
     DAVID REED, et al.
14
                    Defendant.
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17
            Pursuant to Fed. R. Crim. P. 43, defendant hereby waives the right to be present in person in
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     open court upon the hearing of any procedural motion or other preliminary or status proceeding in
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     this cause, including arraignment, when a continuance is ordered pursuant to stipulation of counsel,
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     when the case is set for trial, and when any other action is taken by the court before or after trial,
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     except upon plea, evidentiary hearing, impanelment of jury, trial and imposition of sentence.
22
     Defendant hereby requests the court to proceed during every absence of his which the court may
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     permit pursuant to waiver; agrees that his interests will be deemed represented at all times by the
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     presence of his attorney, the same as if defendant were personally present; and further agrees to be
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     present in court any day and hour the court may order that he be personally present in his absence.
26
            Defendant further acknowledges that he has been informed of his rights under Title U.S.C. §§
27
     3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and delays under the Act
28
     without defendant being present.
        Case 2:13-cr-00144-JAM Document 65 Filed 06/05/13 Page 2 of 2


 1   DATED: April 24, 2013                                       /s David Reed
                                                                 DAVID REED
 2                                                               Defendant1
 3
     APPROVED.
 4
     DATED: April 24, 2013                                       /s Erin J. Radekin
 5                                                               ERIN J. RADEKIN
                                                                 Attorney for Defendant
 6                                                               DAVID REED
 7
     IT IS SO ORDERED.
 8
     DATED: 6/4/2013                                             /s/ John A. Mendez
 9                                                               JOHN A. MENDEZ
                                                                 United States District Court Judge
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               Pursuant to local ECF procedure, attorney will maintain an originally executed copy.
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